
662 S.E.2d 670 (2008)
DEPT. OF CORRECTION
v.
MEDICAL BOARD.
No. 51PA08.
Supreme Court of North Carolina.
June 3, 2008.
Thomas J. Pitman, Special Deputy Attorney General, Joseph Finarelli, Assistant Attorney General, for Dept. of Correction, et al.
Thomas W. Mansfield, Brian L. Blankenship, D. Todd Brosius, for Medical Board.
Wallace C. Hollowell, III, Raleigh, for American Medical Asso.
The following order has been entered on the motion filed on the 2nd day of June 2008 by American Medical Association for leave to file Amicus Curiae Brief:
"Motion Allowed. Unless already submitted, the Amicus Brief shall be submitted to the court within the times allowed and in the manner provided by Appellate Rule 28(i). By order of the Court in conference this the 3rd day of June 2008."
